Case 0:15-cv-60082-WPD Document 102 Entered on FLSD Docket 06/30/2015 Page 1 of 10




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 15-cv-60082-DIMITROULEAS/SNOW

   SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,
   v.

   FREDERIC ELM f/k/a FREDERIC ELMALEH,
   et al.,

          Defendants,
   and

   AMANDA ELM f/k/a AMANDA ELMALEH,

         Relief Defendant.
   ______________________________________________ )

             RECEIVER’S FIRST INTERIM APPLICATION FOR ALLOWANCE
              AND PAYMENT OF FEES AND EXPENSES INCURRED BY THE
                       RECEIVER AND RETAINED COUNSEL

          Receiver Grisel Alonso, not individually, but solely in her capacity as Court-appointed

   receiver (“Receiver”) for Elm Tree Investment Advisors, LLC, Elm Tree Investment Fund LP,

   Elm Tree "e"Conomy Fund LP, and Elm Tree Motion Opportunity LP (collectively, the

   "Receivership Entities"), files her First Interim Application for Allowance and Payment of Fees

   and Expenses Incurred by the Receiver and Retained Counsel, and requests that this Court enter

   an Order authorizing her to make payments for certain professional services and expenses

   incurred during the period of January 16, 2015 through March 31, 2015 (“Application Period”).

          The Receiver respectfully requests that the Court authorize the Receiver to pay: (a)

   Michael Moecker and Associates, Inc. for reasonable fees and costs; and (b) Broad and Cassel,

   as Receiver’s primary counsel, for reasonable attorneys’ fees and costs.




                                             BROAD and CASSEL
                 One Biscayne Tower, 21st Floor 2 South Biscayne Blvd. Miami, Florida 33131-1811 305.373.9400
Case 0:15-cv-60082-WPD Document 102 Entered on FLSD Docket 06/30/2015 Page 2 of 10




           The Securities and Exchange Commission has reviewed this First Interim Application

   and has no objection the relief requested herein.

   I.      RETENTION OF RECEIVER

           A.       The SEC’s Motion

           On January 15, 2015, the SEC filed its Complaint for Injunctive and Other Relief (D.E.

   1) and Emergency Motion to Appoint for Appointment of Receiver (D.E. 8). In the Complaint,

   the SEC seeks to temporarily and permanently enjoin Defendant Frederic Elm f/k/a Frederic

   Elmaleh ("Defendant Elm") and the Receivership Entities from violating the antifraud and

   registration provisions of federal securities laws. (D.E. 1 at 1). The Commission also seeks to

   protect and preserve millions of dollars of investor assets at risk. (Id. at 2).

           B.       The Court Appoints Grisel Alonso, Esq. as Receiver

           On January 16, 2015, the Court entered an order appointing Ms. Alonso as the Receiver

   (the “Receivership Order”). (D.E. 13). The Order placed the Receiver in charge of the

   Receivership Entities. (Id. at 2). The Receivership Order authorized and directed the Receiver to,

   among other things:

                •   take immediate possession of all property, assets and estates of every kind of the
                    Receivership Entities;

                •   investigate the manner in which the affairs of the Receivership Entities were
                    conducted;

                •   employ legal counsel and other professionals as the Receiver deems necessary
                    and to take possession of the assets and business and to fix and pay their
                    reasonable compensation and reasonable expenses;

                •   engage persons in the Receiver’s discretion to assist the Receiver in carrying out
                    the Receiver’s duties and responsibilities;

                •   defend, compromise or settle legal actions in which the Receivership Entities or
                    the Receiver is a party;
                                                BROAD and CASSEL
                    One Biscayne Tower, 21st Floor 2 South Biscayne Blvd. Miami, Florida 33131-1811 305.373.9400


                                                                 2
Case 0:15-cv-60082-WPD Document 102 Entered on FLSD Docket 06/30/2015 Page 3 of 10




              •   assume control of all of the Receivership Entities’ financial accounts, as
                  necessary;

              •   make payments and disbursements from the funds and assets taken into control as
                  necessary in discharging the Receiver’s duties; and

              •   have access to and review all mail of the Receivership Entities, Defendant Elm,
                  and Relief Defendant Amanda Elm f/k/a Amanda Elmaleh.

   (D.E. 13 at 2-3).

   II.    REQUEST FOR FEES AND EXPENSES

          The Receiver and her counsel have worked diligently to marshal and preserve all assets

   of the Receivership Entities, investigate their business operations, and investigate any claims the

   Entities may have. The Receiver’s efforts after the Receivership Order, including the gathering

   of evidence, marshaling of assets, negotiation of settlements, and ongoing efforts are set forth in

   detail in the Receiver’s First Report, filed on March 20, 2015. (D.E. 50).

          The Receiver respectfully requests an award for all legal and professional fees and the

   reimbursement of certain expenses incurred on behalf of the Receiver for services rendered

   during the Application Period. These amounts total $261,741.31 in the aggregate (“Total

   Award”). The Total Award is comprised of: (a) $173,035.94 in fees and costs for the Receiver

   and professionals at Michael Moecker and Associates, Inc.; and (b) $88,705.37 in legal fees and

   costs for Broad and Cassel.

          Significantly, the Receiver and those working with her worked at deeply discounted rates

   in performing their functions. Moreover, the Receiver and her counsel further reduced the final

   total cost through writing off various fees incurred for work performed.

          This request is the Receiver’s first application to the Court for compensation and

   reimbursement of expenses for services rendered on behalf of the Receiver. No understanding
                                              BROAD and CASSEL
                  One Biscayne Tower, 21st Floor 2 South Biscayne Blvd. Miami, Florida 33131-1811 305.373.9400


                                                               3
Case 0:15-cv-60082-WPD Document 102 Entered on FLSD Docket 06/30/2015 Page 4 of 10




   exists between the Receiver and any other person for the sharing of compensation sought by this

   Receiver, except among the firms retained by the Receiver.

          As demonstrative of the efforts performed on behalf of the Receiver, the Receiver has

   attached exhibits to this Application consisting of:

                  Exhibit 1:         Summary of Professional and Paraprofessional Time;

                  Exhibit 2:         Individualized and Detailed Descriptions of the Services Rendered
                                     for Michael Moecker and Associates, Inc.;

                  Exhibit 3:         Individualized and Detailed Descriptions of the Expenses Incurred
                                     and Disbursements Made by Michael Moecker and Associates,
                                     Inc.; and

                  Exhibit 4:         Monthly Individualized and Detailed Descriptions of the Services
                                     Rendered, Expenses, and Disbursements for Broad and Cassel.

          Exhibit 1 contains an aggregate summary of all hours accumulated by the Receiver and

   all counsel, paralegals, professionals, and paraprofessionals who have been involved and

   provided services for the Receiver during the course of the Application Period segregated by

   each firm performing services. The total amount represents the amount of time expended by each

   attorney, paralegal, and professional multiplied by the applicable hourly rate.

          Exhibit 2 reflects individualized and detailed descriptions of the daily services rendered

   and hours expended by the Receiver and her professionals and paraprofessionals at Michael

   Moecker and Associates, Inc. who have been involved and provided services for the Receiver

   during the course of the Application Period. Exhibit 2 is based on, among other information, the

   contemporaneous daily time records maintained by the Receiver and her professionals and

   paraprofessionals at Michael Moecker and Associates, Inc. who rendered services in this case.

   These time records have also been reviewed and approved by the Receiver, and, based on the



                                             BROAD and CASSEL
                 One Biscayne Tower, 21st Floor 2 South Biscayne Blvd. Miami, Florida 33131-1811 305.373.9400


                                                              4
Case 0:15-cv-60082-WPD Document 102 Entered on FLSD Docket 06/30/2015 Page 5 of 10




   complexity of the case, the Receiver respectfully submits that the requested compensation is

   reasonable.1

          Exhibit 3 reflects the actual and necessary out-of-pocket expenses incurred and

   disbursements made by the Receiver during the course of the Application Period. The expenses

   and disbursements summarized in Exhibit 3 are those which the Receiver and Michael Moecker

   and Associates, Inc. would typically invoice to their clients.

          Finally, Exhibit 4 contains an individualized and detailed description of the daily services

   rendered and the hours expended by the various attorneys, paralegals, and professionals at Broad

   and Cassel employed on behalf of the Receiver in this case. Exhibit 4 also contains a detailed

   schedule which lists the expenses incurred and disbursements made by Broad and Cassel for

   which the Receiver seeks funds for reimbursement. Exhibit 4 is based on, among other


   1
     The time records for the Receiver and the Receiver's counsel at Broad and Cassel showing the
   detailed descriptions of the services rendered are categorized with the following codes:

   Legal Activities
   AAR – Asset Analysis and Recovery
   ADN – Asset Disposition
   BO – Business Operations
   CA – Case Administration
   CLA – Claims Administration and Objections
   EMP – Employee Benefits/Pensions

   Financial Activities
   AA – Accounting/Auditing
   BA – Business Analysis
   CF – Corporate Finance
   DA – Data Analysis
   SR – Status Reports
   LC – Litigation Consulting
   FA – Forensic Accounting
   TI – Tax Issues
   VAL – Valuation

                                              BROAD and CASSEL
                  One Biscayne Tower, 21st Floor 2 South Biscayne Blvd. Miami, Florida 33131-1811 305.373.9400


                                                               5
Case 0:15-cv-60082-WPD Document 102 Entered on FLSD Docket 06/30/2015 Page 6 of 10




   information, the contemporaneous daily time records maintained by the attorneys, paralegals,

   and professionals at Broad and Cassel who rendered services in this case. These time records

   have also been reviewed and approved by the Receiver, and, based on the complexity of the case,

   the Receiver respectfully submits that the requested compensation is reasonable.

   III.   MEMORANDUM OF LAW

          Under governing law, following a determination that services were rendered and costs

   expended in furtherance of the Receivership, the Court may award compensation for those fees

   and costs. When determining an award of attorneys’ fees incurred during a receivership, the

   Court should give consideration to the factors for compensation that the Eleventh Circuit

   articulated in In re Norman v. Housing Authority of City of Montgomery, 836 F.2d 1292 (11th

   Cir. 1988): (1) the time and labor required; (2) the novelty and difficulty of the question

   involved; (3) the skill requisite to perform the legal service properly; (4) the likelihood, if

   apparent to the client, that the acceptance of the particular employment will preclude other

   employment by the lawyer; (5) the fee customarily charged in the locality for similar legal

   services; (6) whether the fee is fixed or contingent; (7) the time limitations imposed by the client

   or by the circumstances; (8) the amount involved and the results obtained; (9) the experience,

   reputation, and ability of the lawyer or lawyers performing the services; (10) the “undesirability”

   of the case; (11) the nature and length of the professional relationship with the client; and (12)

   any awards in similar cases. See also Sec. & Exch. Comm'n v. Elliot, 953 F. 2d 1560, 1577 (11th

   Cir. 1992). The Receiver respectfully submits that her request for fees for payment of her

   attorneys and other professionals meets the criteria for this interim compensation.

          In this case, the Receivership Order requires the Receiver, among other things, to take

   immediate possession of all property, assets and estates of the Receivership Entities; investigate

                                             BROAD and CASSEL
                 One Biscayne Tower, 21st Floor 2 South Biscayne Blvd. Miami, Florida 33131-1811 305.373.9400


                                                              6
Case 0:15-cv-60082-WPD Document 102 Entered on FLSD Docket 06/30/2015 Page 7 of 10




   the manner in which the affairs of the Receivership Entities were conducted; and assume control

   of all of the Receivership Entities’ financial accounts, as necessary. (D.E. 13 at 2-3). The

   Receivership Order allows the Receiver to appoint “one or more special agents, employ legal

   counsel, actuaries, accountants, clerks, consultants and assistants as the Receiver deems

   necessary and to fix and pay their reasonable compensation and reasonable expenses, as well as

   all reasonable expenses of taking possession of the assets and business….” (Id. at 3). The Court

   further authorized payment of these professionals from the funds held by the Receivership. (Id.).

           The Receiver’s attorneys, paralegals, and advisors have incurred reasonable fees and costs

   consistent the Court’s Orders, and payment is appropriate and warranted in consideration of the

   Eleventh Circuit multi-factor test, as follows: The Receiver and the Receiver’s attorneys have

   expended a considerable amount of time and effort in order to perform the extensive work necessary

   to perform the tasks set forth in this Court’s Receivership Order. (Factor 1). There were difficulties

   determining the interrelationship of the Defendants’ related entities and the extent of their

   participation in the fraudulent conduct, due to the breadth of the fraud and the lack of access to the

   records maintained by the Defendants, as well as the specific factual circumstances and legal issues

   involved in the Receivership Entities’ operations (Factors 2 and 3). The Receiver and her counsel

   have engaged in extensive fact-finding and legal analysis in light of the complex issues raised by the

   Receivership and interested parties, limiting their ability to perform other, significant work due to

   the demands of this case on their time (Factor 4). Moreover, the Receiver and the law firm retained

   by the Receiver agreed to work for significantly reduced rates to maximize the amount of funds

   ultimately to be distributed to investors (Factor 5). Accordingly, they have taken a substantial

   financial risk, and failure to recover their fees would place a tremendous burden on their practices

   (Factor 6).

                                              BROAD and CASSEL
                  One Biscayne Tower, 21st Floor 2 South Biscayne Blvd. Miami, Florida 33131-1811 305.373.9400


                                                               7
Case 0:15-cv-60082-WPD Document 102 Entered on FLSD Docket 06/30/2015 Page 8 of 10




          Moreover, managing the receivership and the attendant litigation presented numerous,

   complex issues, and the Receiver and her retained counsel have spent a great deal of time and effort

   trying to obtain information about the Receivership Entities and their relationship with others

   (Factors 2, 3, 7). Among other things, there was injunction practice and discovery, involving a great

   deal of information and sophisticated legal issues. (Id.). The Receiver’s tasks were made more

   challenging and complicated because Defendant Elm and Relief Defendant Amanda Elm have

   taken the Fifth Amendment and have refused to provide financial and accounting information to the

   Receiver. (Id.). In addition, the Receiver has filed a Motion for Turnover of Elm Tree Domain

   Names [DE 67] to gain access to domains utilized by the Receivership Entities which are registered

   at various hosting companies. (Id.).

          The foregoing challenges, the significant responsibilities of the Receiver, the complex

   factual and legal issues and the amount of money at stake, all necessitated the retention of the

   experienced, skilled, and reputable professionals at issue. (Factors 2, 3, 8, 9). The results obtained

   have been significant. (Factor 8). The Receiver and her retained counsel gathered a great deal of

   information about the Defendants’ financial assets and liabilities, assisted in marshalling assets,

   obtained substantial discovery needed for the recovery of funds, obtained turnover of valuable

   assets, and also made great strides toward determinations necessary to ensure a proper claims

   process (Factor 8). In view of these circumstances, this request for fees and expenses, which are the

   result of discounted and reduced rates, is appropriate and warranted (Factor 12).

          WHEREFORE, the Receiver, Grisel Alonso, respectfully requests that this Court enter an

   Order authorizing the payment of: (1) $173,035.94 in fees and costs to the Receiver and her

   professionals at Michael Moecker and Associates, Inc.; (2) $88,705.37 in fees and costs to Broad



                                              BROAD and CASSEL
                  One Biscayne Tower, 21st Floor 2 South Biscayne Blvd. Miami, Florida 33131-1811 305.373.9400


                                                               8
Case 0:15-cv-60082-WPD Document 102 Entered on FLSD Docket 06/30/2015 Page 9 of 10




   and Cassel; and (3) authorizing the Receiver to distribute from the Receivership Estate funds to its

   retained counsel and professionals.

                                                         Respectfully submitted,

                                                         BROAD AND CASSEL
                                                         Attorneys for Receiver
                                                         One Biscayne Tower, 21st Floor
                                                         2 South Biscayne Boulevard
                                                         Miami, FL 33131
                                                         Tel: (813) 225-3011
                                                         Fax: (813) 204-2137

                                                         By:        s/Daniel S. Newman
                                                                    Daniel S. Newman, P.A.
                                                                    Florida Bar No. 0962767
                                                                    dnewman@broadandcassel.com
                                                                    Amanda Star Frazer, Esq.
                                                                    Florida Bar No. 43921
                                                                    afrazer@broadandcassel.com




                                        CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on June 30, 2015, a true and correct copy of the foregoing was

   served via electronic transmission on all counsel or parties of record on the Service List below.

                                                         By:        s/Daniel S. Newman
                                                                    Daniel S. Newman, P.A.




                                             BROAD and CASSEL
                 One Biscayne Tower, 21st Floor 2 South Biscayne Blvd. Miami, Florida 33131-1811 305.373.9400


                                                              9
Case 0:15-cv-60082-WPD Document 102 Entered on FLSD Docket 06/30/2015 Page 10 of 10




                                                   SERVICE LIST

    Patrick R. Costello, Esq.                                  David R. Chase, Esq.
    Katharine Zoladz, Esq.                                     david@davidchaselaw.com
    costellop@sec.gov                                          David R. Chase, P.A.
    zoladzK@sec.gov                                            1700 East Las Olas Boulevard
    U.S. Securities and Exchange Commission                    Suite 305
    801 Brickell Avenue                                        Fort Lauderdale, FL 33301
    Suite 1800                                                 Counsel for Defendant Frederic Elm and
    Miami, FL 33131                                            Relief Defendant Amanda Elm
    Counsel for U.S. Securities and Exchange
    Commission

    Christopher Bruno, Esq.                                    Grisel Alonso, Esq.
    cbruno@brunodegenhardt.com                                 galonso@moecker.com
    Bruno & Degenhardt                                         Michael Moecker & Associates, Inc.
    10615 Judicial Drive                                       3613 North 29th Avenue
    Suite 703                                                  Hollywood, FL 33020
    Fairfax, VA 22030                                          Receiver
    Counsel for Defendant Frederic Elm and Relief
    Defendant Amanda Elm




                                             BROAD and CASSEL
                 One Biscayne Tower, 21st Floor 2 South Biscayne Blvd. Miami, Florida 33131-1811 305.373.9400


                                                             10
